Case 1:18-ap-01062          Doc 4   Filed 11/15/18 Entered 11/15/18 12:58:20          Desc Main
                                    Document      Page 1 of 3


                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO

In re:                                            Chapter 7
                                                  Case No. 1:18-bk-12585
Suzanne Bair,
                                                  Judge Jeffery P. Hopkins
               Debtor.


Barestone, LLC, et al.                            ADV. PRO. NO. 1:18-ap-01062

               Plaintiffs

         v.

Suzanne Bair,

               Defendant-Debtor.


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE


         PLEASE TAKE NOTICE that the undersigned appears as counsel in this adversary

matter only (Robert A. Goering, Esq. will remain counsel for debtor in the underlying bankruptcy

Case No. 1:18-bk-12585) for debtor Suzanne Bair (“Debtor”) and herewith demands that all

notices given or required to be given in this case be served upon the undersigned at the following

address and telephone number:

                Paul T. Saba, Esq.                               Jeffrey M. Nye, Esq.
                STAGNARO, SABA &                                 STAGNARO, SABA &
                PATTERSON CO., L.P.A.                            PATTERSON CO., L.P.A.
                2623 Erie Avenue                                 2623 Erie Avenue
                Cincinnati, Ohio 45208                           Cincinnati, Ohio 45208
                513.533.2703                                     513.533.6714
                513.533.2713 (facsimile)                         513.533.6711 (facsimile)
                pts@sspfirm.com                                  jmn@sspfirm.com
Case 1:18-ap-01062         Doc 4     Filed 11/15/18 Entered 11/15/18 12:58:20                Desc Main
                                     Document      Page 2 of 3


        Pursuant to Rule 2002(g) of the Federal Rules of Bankruptcy Procedure, and as
contemplated by Sections 1109(b) and 102(1) of the Bankruptcy Code, the foregoing demand
includes not only the notices referred to in the Rule and statutes specified above, but also
includes, without limitation, notices of any application, motion, or other pleading, whether
formal or informal, whether written or oral, and whether transmitted by mail, hand delivery,
telephone, or facsimile: (1) that affects or seeks to affect in any way rights or interests of (a) the
Debtor, (b) property in which the Debtor may claim an interest, (c) property in the possession,
custody or control of the Debtor, or (d) claims against the Debtor or the estate; (2) that seeks to
require any act, payment, or other conduct by; or (3) that in any manner affect the rights of
Debtor.
        PLEASE TAKE FURTHER NOTICE that Debtor intends that neither this notice of

appearance nor any later appearance, pleading, claim or suit shall waive: (1) the rights of Debtor

to have final orders in non-core matters entered only after de novo review by a District Judge; (2)

the rights of Debtor to a trial by jury in any proceeding so triable in this case; (3) the right of Debtor

to have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal; or (4) any other rights, claims, actions, defenses, setoffs, or recoupments

to which Debtor is or may be entitled, under agreements, in law, in equity, or otherwise, all of

which rights, claims, actions, defenses, setoffs, and recoupments Debtor expressly reserves.

Dated: November 15, 2018
                                                Respectfully submitted,

                                                /s/ Paul T. Saba
                                                Paul T. Saba, Esq. (0063723)
                                                Jeffrey M. Nye, Esq. (0082247)
                                                STAGNARO, SABA & PATTERSON CO., L.P.A.
                                                2623 Erie Avenue
                                                Cincinnati, Ohio 45208
                                                513.533.2703
                                                513.533.2713 (facsimile)
                                                paulsaba@sspfirm.com
                                                Attorneys for Debtor

                                   CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Notice of Appearance and Demand for Service

of Papers was served on November 15, 2018 upon the U.S. Trustee and on all registered ECF
Case 1:18-ap-01062       Doc 4    Filed 11/15/18 Entered 11/15/18 12:58:20          Desc Main
                                  Document      Page 3 of 3


Participants, electronically through the court’s ECF System at the email address registered with

the Court:

       U.S. Trustee
       Henry E. Menniger, Jr., U.S. Trustee
       Robert A. Goering, Attorney for Robert A. Goering
       Brian R. Redden, Attorney for Plaintiffs

                                            /s/ Paul T. Saba
                                            Paul T. Saba, Esq. (0063723)
